      Case 20-67423-jwc             Doc 9 Filed 06/23/20 Entered 06/23/20 09:09:00                       Desc 2-19-13
                                         Order Grant Appl. Inst Page 1 of 1
                                         UNITED STATES BANKRUPTCY COURT
                                              Northern District of Georgia
                                                   Atlanta Division

In      Debtor(s)
Re:     Jorge A Rondon                                                  Case No.: 20−67423−jwc
                                                                        Chapter: 7
        Rodolmar M Serradas



 ORDER GRANTING APPLICATION TO PAY FILING FEE IN INSTALLMENTS FOR
                  INDIVIDUALS OR JOINT DEBTORS


        Debtor or Debtors (hereinafter "Debtor") has filed an application to pay the filing fee for the voluntary petition
in installments, and has remitted the initial payment. Accordingly, it is ORDERED that:

       1. Debtor's application is granted, and Debtor shall pay an amount not less than one−half of the unpaid balance
of the filing fee as the second installment within 30 days of the petition date; and Debtor shall pay the remaining
unpaid balance of the filing fee as the final installment within 60 days of the petition date:

       Second installment of $67.50 on or before July 22, 2020.
       Final installment of $67.50 on or before August 21, 2020.

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:


                                                United States Bankruptcy Court
                                                 1340 Richard Russell Building
                                                   75 Ted Turner Drive, SW
                                                      Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Gainesville, Newnan or Rome, note that cash is
not accepted. You must remit using cashier's check, money order or attorney's check. The Atlanta divisional
office will accept these forms of payment as well as cash.

      2. If, by the date(s) set forth above, i) the filing fee is not paid in accordance with this Order; ii) no request for
an extension of time is pending; or iii) neither the debtor nor any party in interest has requested a hearing thereon, the
Court may dismiss this case without further notice or hearing.

      3. In accordance with Bankruptcy Rule 1006(b)(3), until the filing fee is paid in full, Debtor shall not pay, and
no person shall accept, any money for services in connection with Debtor's case, and Debtor shall not relinquish, and
no person shall accept, any property as payment for services in connection with this case.

       The Clerk will serve this Order upon Debtor, Debtor's counsel, and Trustee.

   IT IS SO ORDERED, on June 23, 2020 .




                                                                        Jeffery W. Cavender
                                                                        United States Bankruptcy Judge

Form 304
Standard Order Granting Application to Pay Filing Fee in Installments
Revised December 2018
